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                              TENTATIVE RULING
                     ISSUED BY JUDGE LAURA S. TAYLOR




   Debtor:      JESSE WAYNE DAWBER


   Number:      18-06044-LT11
   Hearing:     11:00 AM Thursday, December 5, 2019
   Motion:   MOTION FOR AUTHORITY TO ESTABLISH TRUST FOR THE
   BENEFIT OF THE ESTATE AND TRANSFER INTELLECTUAL PROPERTY TO
   THE TRUST FILED ON BEHALF OF DAVID K. GOTTLIEB, CHAPTER 11
   TRUSTEE


   Hear. The Court is prepared to grant this motion. It appears to be in the best
   interest of the estate and well within the Trustee's business judgment. The Court
   considers it an out of the ordinary course of business transaction but also
   determines that the unusual exigencies of this case justify the relief requested.
   At the hearing, the Court will require assurance regarding the form of trust
   document, the choice of law thereunder, and the Court's continued ability to
   police transactions involving the trust.
